       Case 1-18-44548-cec             Doc 31      Filed 02/19/19     Entered 02/20/19 09:20:51




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                               Case No. 18-44548-CEC

Norma V. Robinson,                                                   Chapter 13
                                             Debtors.
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                             ORDER TERMINATING LOSS MITIGATION

        WHEREAS, on October 12, 2018, Norma V. Robinson (the “Debtor”) filed a request to
enter into the Loss Mitigation Program with respect to property located at 190-15 Linden Blvd,
Saint Albans, NY 11412, Loan No. 6257 with creditor U.S. Bank National Association As
Trustee for the C-Bass Mortgage Loan Asset-Backed Certificates, Series 2007-MX1 (the
“Secured Creditor”); and

       WHEREAS, on December 19, 2018, the Court issued an order directing the Debtor and
the Secured Creditor to participate in the Loss Mitigation Program; and

        WHEREAS, a status conference on the Loss Mitigation was held on February 5, 2019;

       NOW, THEREFORE, for the reasons stated on the record at the February 5, 2019 status
conference, it is

        ORDERED, that the Loss Mitigation Period is terminated.




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 Dated: Brooklyn, New York                                                    Carla E. Craig
        February 19, 2019                                             United States Bankruptcy Judge
